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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION


UNITED STATES OF AMERICA,


vs.                                                   CASE NO. 8:02-CR-308-T-17-TGW


MARSHALL LUTHER SALTER
                                       /

                                            ORDER

        This cause comes before the Court on the defendant’s motion for modification of
sentence, the requested modification was based on the retroactive application of revised cocaine
base sentencing guidelines (Docket No. 162). The Court appointed counsel in this case and
required responses from the United States Probation Office, the government, and the defendant
through his appointed counsel. The Court has received and reviewed the stipulation of the
appointed counsel and the government (Docket No. 168). All responses agree is not eligible for
a reduction in sentence based on the amended guidelines because of the application of the
statutory minimum mandatory. Accordingly, it is.


        ORDERED that defendant’s motion for modification of sentence, the requested
modification was based on the retroactive application of revised cocaine base sentencing
guidelines (Docket No. 162) be denied.


        DONE AND ORDERED in Chambers in Tampa, Florida this 12th day of September,
2008.
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Copies furnished to: All Counsel of Record
